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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF SOUTH CAROLINA
                          COLUMBIA DIVISION


LAWANDA WHITE,
   Plaintiff,                               Civil Action No.: 3:13-cv-00577-JFA

vs.
                                            COMPLAINT AND DEMAND
GC SERVICES, LP; and DOES 1                 FOR JURY TRIAL
through 10, inclusive,
     Defendant.


                                     COMPLAINT

                                   I. INTRODUCTION

      1. This is an action for actual and statutory damages brought by Plaintiff,

         LaWanda White, an individual consumer, against Defendant, GC Services,

         LP, for violations of the law, including, but not limited to, violations of the

         Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter

         ‘‘FDCPA’’), which prohibits debt collectors from engaging in abusive,

         deceptive, and unfair practices.

                                    II. JURISDICTION

      2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

         1337. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and




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   2202. Venue in this District is proper in that the Defendant transacts

   business here.

                                III.   PARTIES

3. Plaintiff, LaWanda White, is a natural person with a permanent residence in

   West Columbia, Lexington County, South Carolina 29169.

4. Upon information and belief, the Defendant, GC Services, LP, is a

   corporation engaged in the business of collecting debt in this state and in

   several other states, with its principal place of business located at 6330

   Gulfton St, Suite 300, Houston, Harris County, Texas 77081. The principal

   purpose of Defendant is the collection of debts in this state and several other

   states, and Defendant regularly attempts to collect debts alleged to be due

   another.

5. Defendant is engaged in the collection of debts from consumers using the

   mail and telephone. Defendant regularly attempts to collect consumer debts

   alleged to be due to another. Defendant is a ‘‘debt collector’’ as defined by

   the FDCPA, 15 U.S.C. § 1692a(6).

                      IV.    FACTUAL ALLEGATIONS

6. The debt that Defendant is attempting to collect on is an alleged obligation

   of a consumer to pay money arising out of a transaction in which the money,

   property, insurance or services which are the subject of the transaction are


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   primarily for personal, family, or household purposes, whether or not such

   obligation has been reduced to judgment.

7. Within one (1) year preceding the date of this Complaint, Defendant, in

   connection with the collection of the alleged debt, attempted to communicate

   with Plaintiff at her place of employment after being informed that this

   inconvenienced Plaintiff and/or was conduct prohibited by Plaintiff’s

   employer.

8. Within one (1) year preceding the date of this Complaint, Defendant, in

   connection with the collection of the alleged debt, contacted Plaintiff and

   threatened to garnish Plaintiff’s wages.

9. Defendant has no standing to commence garnishment proceedings on behalf

   of the creditor.

10. Defendant is a debt collection company and as a debt collection company

   attempting to collection an alleged debt, Defendant can only refer the matter

   back to the creditor with a recommendation that the original creditor attempt

   legal proceedings which could result in garnishment.

11. The representations made to Plaintiff by Defendant regarding garnishment

   were false.




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12. The natural consequences of Defendant’s statements and actions were to

   unjustly condemn and vilify Plaintiff for her non-payment of the debt she

   allegedly owed.

13. The natural consequences of Defendant’s statements and actions were to

   produce an unpleasant and/or hostile situation between Defendant and

   Plaintiff.

14. The natural consequences of Defendant’s statements and actions were to

   cause Plaintiff mental distress.

15. Defendant utilized unfair and unconscionable means to collect on Plaintiff’s

   alleged debt, by lying to and misleading Plaintiff.

                          V. FIRST CLAIM FOR RELIEF

16. Plaintiff repeats and realleges and incorporates by reference to the foregoing

   paragraphs.

17. Defendants violated the FDCPA. Defendants’ violations include, but are not

   limited to, the following:

          (a) Defendant violated §1692c(a)(1) of the FDCPA by communicating

                at a time or place known or which should be known to be

                inconvenient to the Plaintiff; and

          (b) Defendant violated §1692c(a)(3) of the FDCPA by communicating

                with the Plaintiff at the Plaintiff’s place of employment when the


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         Defendant knew or had reason to know that the Plaintiff’s

         employer       prohibits   the      Plaintiff   from   receiving     such

         communication; and

      (c) Defendant violated §1692d of the FDCPA by engaging in conduct

         the natural consequences of which is to harass, oppress, or abuse

         any person in connection with the collection of an alleged debt;

         and

      (d) Defendant violated §1692e of the FDCPA by using a false,

         deceptive, or misleading representation or means in connection

         with the collection of the alleged debt; and

      (e) Defendant violated §1692e(4) of the FDCPA by giving the false

         representation or implication that nonpayment of the alleged debt

         will result in the garnishment of wages of any person when such

         action is unlawful and the Defendant does not intend to take such

         action; and

      (f) Defendant violated §1692e(5) of the FDCPA by threatening to take

         action that the Defendant does not intend to take and/or the

         Defendant cannot legally take; and




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         (g) Defendant violated §1692e(10) of the FDCPA by using false

             representation or deceptive means in connection with the collection

             the alleged debt; and

         (h) Defendant violated §1692f of the FDCPA by using unfair or

             unconscionable means in connection with the collection of an

             alleged debt.


18. Defendant’s acts as described above were done intentionally with the

   purpose of coercing Plaintiff to pay the alleged debt.

19. As a result of the foregoing violations of the FDCPA, Defendant is liable to

   the Plaintiff, LaWanda White, for declaratory judgment that Defendant’s

   conduct violated the FDCPA, actual damages, statutory damages, and costs

   and attorney fees.

                    VI.      SECOND CLAIM FOR RELIEF

20. Plaintiff repeats and realleges and incorporates by reference to the foregoing

   paragraphs.

21. Defendant violated the South Carolina Consumer Protection Code § 37-5-

   101 et seq. (hereinafter “SCCPC”).

22. Defendant’s violations include, but are not limited to, the following:

         (a) Defendant violated §37-5-108(iv) of the SCCPC by

             communicating with anyone other than the consumer, her attorney,

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                  a consumer reporting agency if otherwise permitted by law, the

                  attorney of the creditor or debt collector, unless the consumer or a

                  court of competent jurisdiction has given prior direct permission.

      23. Defendant’s acts as described above were done intentionally with the

         purpose of coercing Plaintiff to pay the alleged debt.

      24. As a result of the foregoing violations of the SCCPC, Defendant is liable to

         the Plaintiff for actual damages, and statutory damages.



      WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant, GC Services, LP, for the following:

      A. Declaratory judgment that Defendant’s conduct violated the FDCPA and the

         SCCPC.

      B. Actual damages.

      C. Statutory damages.

      D. Costs and reasonable attorney fees.

      E. Awarding Plaintiff any pre-judgment and post-judgment interest as may be

         allowed under the law.

      F. For such other and further relief as the Court may deem just and proper.



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                          DEMAND FOR JURY TRIAL

   PLEASE TAKE NOTICE that Plaintiff, LaWanda White, demands trial by jury

in this action.

Dated: March 04, 2013

                                             RESPECTFULLY SUBMITTED,

                                             By: /s/ Chauntel Bland
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